                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                COLUMBIA DIVISION


UNITED STATES OF AMERICA                      )
                                              )
v.                                            )   CASE NO. 1:13-00001
                                              )   JUDGE SHARP
THOMAS HARDIMAN [2]                           )
                                              )

                                         ORDER

       Due to a calendar conflict, the sentencing hearing scheduled for November 21, 2014, is

hereby rescheduled for Friday, December 12, 2014, at 2:30 p.m.

       It is so ORDERED.




                                           KEVIN H. SHARP
                                           UNITED STATES DISTRICT JUDGE




 Case 1:13-cr-00001        Document 161      Filed 11/14/14      Page 1 of 1 PageID #: 483
